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:N THE UNITED sTATEs DISTRICT COURT ipv”;
ron THE wEsTERN DISTRICT OF TENNESSEEU§{W¥ ~J
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SEDLEY ALLEY,
Petitioner,

v. No. 97-3159-D/V

RICKY BELL,

Respondent.

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ORDER

 

This matter is before the Court pursuant to three separate
motions of the Petitioner: a motion to reinstate his motion for
discovery, a motion to rescind this Court's March 16, 2005 order
directing him to withdraw his motion for relief from judgment, and
a motion for a status conference.

Petitioner, an inmate under a sentence of death at Riverbend
MaXimum Security Institution in Nashville, Tennessee, seeks relief
from this Court's November 4, 1999 judgment denying him habeas
relief. The Sixth Circuit Court of Appeals affirmed this Court’s
judgment in denying habeas relief. _§e Alle v. Bell, 307 F.3d 380
(6th Cir. 2002), gert; denied, 540 U.S. 839 (2003). Petitioner
filed his first amended motion for relief from judgment on May 12,
2004. This Court stayed his scheduled execution and consideration
of his nmtion for relief pending the Sixth Circuit’s en banc
decision in In re Abdur’Rahman, 392 F.3d 1?4 (6th Cir. 2004). The
Respondent then moved before the Sixth Circuit to vacate the stay

entered by this Court.

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ln Abdur’Rahman, the Sixth Circuit addressed the conditions
under which motions for relief from judgment, pursuant to Rule
60(b) Fed. R. Civ. P., in habeas cases are to be considered proper
motions for relief or prohibited second or successive habeas
petitions subject to the gatekeeping requirements of the AEDPA.
Adopting a “functional approach,” the court held that when a Rule
60(b) motion for relief seeks to relitigate the constitutionality
of the underlying conviction, it is properly deemed a prohibited
second or successive habeas petition. ;d; at 181. However, if the
habeas petitioner is merely challenging the integrity of the
district court’s judgment under one of the provisions of Rule
60(b), then the district court may consider the motion under that
provision. ld; Though the Sixth Circuit initially refused to
vacate the stay entered by this Court, the day following the
release of the opinion in Abdur’Rahman, a Sixth Circuit panel
released its opinion on Respondent's motion to vacate the stay.
The panel determined, under the standards enunciated in
Abdur’Rahman, that Petitioner’s motion for relief ultimately sought
to relitigate the constitutionality of his conviction,r and
therefore was not cognizable in this Court without prior approval
from a panel of the Sixth Circuit pursuant to 28 U.S.C. §
2244(b){3)(A). Alley v. Bell, 392 F.Bd 822, 829 (6th Cir. 2004),
vacated by __ F.3d __, 2005 WL 857009 (6th Cir. 2005). Given the
panel’s ruling that this Court lacked jurisdiction to consider
Petitioner’s motion for relief, this Court entered separate orders

striking a pending discovery motion of Petitioner and instructing

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him to withdraw his motion for relief or risk having it transferred
to a panel of the Sixth Circuit pursuant to the AEDPA and the prior
panel opinion.

Upon granting Petitioner's motion for rehearing, on April ll,
2005 the Sixth Circuit vacated the panel’s opinion and remanded to
this Court to determine, in the first instance, whether
Petitioner's motion for relief is indeed a proper Rule 60(b) motion
for relief. §lley, __ F.3d at __, 2005 WL 857009 at l.
Accordingly, Petitioner has now moved this Court to reinstate his
prior discovery motion, rescind its order directing him to withdraw
his motion for relief, and to schedule a status conference.

Despite the Sixth Circuit's opinion in Abdur’Rahman, the state
of the law in this area remains in flux. Tennessee is seeking
review of the Sixth Circuit's decision in the Supreme Court. gell
v. Abdur’Rahman, No. 04-l247 (docketed,March 16, 2005). Though the
Sixth Circuit has established its functional approach to evaluating
Rule 60(b) motions for relief in habeas cases, there is sharp
division within that court as to how those standards are to be
applied on a case by case basis. Compare giley, 392 F.3d 829
(finding' all of the claims for relief raised. by Alley to be

prohibited attempts at relitigation of the constitutionality of his

trial) with Alley,__ F.3d __, 2005 WL 857009 (Cole, J.,
concurring)(stating, joined by four circuit judges, that

Petitioner’s claim for fraud on the court raises a proper claim of
relief pursuant to Rule 60(b)). Division among the circuits was

discussed in Abdur'Rahman, and continues to be a theme of

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litigation in this area. The Court is aware that the Supreme Court

has granted certiorari and is now considering this very issue

 

during its current term. See Gonzalez v. Crosbv, No. 04“6432,
cert. granted 543 U.S. __ (2005). The Court is also aware that

both Abdur'Rahman and Tennessee have filed amicus curiae briefs
with the Supreme Court as it considers Gonzalez.

Given all of the above, the Court finds that prudent
disposition of this matter requires further clarification from the
Supreme Court in this area of the law. Therefore, in accord with
the mandate of the Sixth Circuit’s order remanding this case, the
Court hereby grants Petitioner's motion to rescind its prior order
(docket no. 145} directing him to withdraw his motion for relief.
Petitioner’s motion to reinstate his prior discovery motion (docket
no. 132) is granted. Because the Court intends to consider
Petitioner’s motion for relief in light of the eventual decision of
the Supreme Court in Gonzalez, the Court denies Petitioner's motion
for a status conference. Petitioner may re-move for a status
conference after the opinion in Gonzalez is released. Finally, the
stay of execution entered by this Court is hereby extended, in
accord with the rest of this order, pending the Supreme Court’s
decision in Gonzalez v. Crosbv and this Court's subsequent
consideration of Petitioner’s Rule 60(b) motion.

IT Is so QRDERED this azj*"‘“ day cf Aprii, 2005.

DONALD
UN TED STATES DISTRICT JUDGE

 

 

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US DISTRICT COURT

